Case 6:19-bk-07986-LVV   Doc 13   Filed 03/03/20   Page 1 of 8
Case 6:19-bk-07986-LVV   Doc 13   Filed 03/03/20   Page 2 of 8
Case 6:19-bk-07986-LVV   Doc 13   Filed 03/03/20   Page 3 of 8
Case 6:19-bk-07986-LVV   Doc 13   Filed 03/03/20   Page 4 of 8
Case 6:19-bk-07986-LVV   Doc 13   Filed 03/03/20   Page 5 of 8
Case 6:19-bk-07986-LVV   Doc 13   Filed 03/03/20   Page 6 of 8
Case 6:19-bk-07986-LVV   Doc 13   Filed 03/03/20   Page 7 of 8
Case 6:19-bk-07986-LVV   Doc 13   Filed 03/03/20   Page 8 of 8
